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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE
WESTERN DIVISION

MEMPHIS-SHELBY COUNTY
AIRPORT AUTHORITY, et al.,

Plaintiffs,
v.

UNITED STATES FIRE INSURANCE
CO.,

Defendant.

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V/No. 03_2649 B CONSOLlDATED

 

ONEBEACON AMERICAN INSURANCE
COMPANY, et al.,

Plaintiffs,
V.

JACO AIRFIELD coNsTRUCTloN,
iNc., et ai.,

Defendants.

NO. 04-2432 B

 

ORDER AFFIRMING DECISION OF THE MAGISTRATE JUDGE

AND ORDER OF REFERENCE

 

On March 2, 2005, Magistrate Judge S. Thomas Anderson entered an order granting the

motion of the Plaintiffs, OneBeacon America Insurance Company, Commercial Union Insurance

Company and American Central Insurance Con'lpany (collectively, "OneBeacon“), to compel the

Det`endant, JACO Airfield Construction, Inc. ("JACO"), to adequately respond to requests for

discovery. Following entry of the order, objections were filed by the Defendant, to which

OneBeacon has responded Upon a review of all of the relevant pleadings, the Court concludes that

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the magistrate judge's findings Were neither clearly erroneous nor contrary to law. &;e_ Fed. R. Civ.
P. 72(a). Accordingly, JACO's objections are OVERRULED and the magistrate judge's order is
AFFIRMED.

In addition, OneBeacon, in its response to the objections filed by the Defendant, seeks an
award of reasonable attorneys' fees incurred by its counsel in moving to compel and in responding
to JACO's objections to the magistrate judge's order. The fee request is hereby REFERRED to the
magistrate judge for determination Any objections to the magistrate judge's order shall be made
Within ten (10) days after service of the order, setting forth particularly those portions of the order
objected to and the reasons for the objections Failure to timely assign as error a defect in the
magistrate judge's order Will constitute a Waiver of that objection §e_e Fed. R. Civ. P. 72(a).

. 4 .
IT is so 0RDERED this §§ day or Aprii, 2005.

 

J A iEL BREEN \
rr D sTATEs DIs'rRicT JUDGE

 

DISTRICT OURT - W

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Honorable .1. Breen
US DISTRICT COURT

